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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF COLUMBIA



  THE UNITED STATES OF                          Case No. 1:21-CR-00392-RCL
  AMERICA,
                                                REQUEST FOR AN ORAL HEARING
               Plaintiff,                       RE THE MOTION TO MODIFY
        vs.                                     RELEASE CONDITIONS –
                                                MEDICAL REPORT
  RUSSELL TAYLOR,                               JUDGE: ROYCE C. LAMBERTH
               Defendants.




Mr. Taylor, requesting a hearing at the Courts earliest availability in order to
determine his prior request to modify release conditions, hereby provides the updated
medical reports as ordered by the Court on August 5, 2022.




Dated: August 8, 2022                         LAW OFFICE OF DYKE E. HUISH


                                              /s/Dyke E. Huish
                                              Attorney for Russell Taylor


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